948 F.2d 1337
    292 U.S.App.D.C. 229
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.John MASSEY, Appellant.
    No. 90-3238.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 21, 1991.
    
      Before MIKVA, Chief Judge and SILBERMAN and RANDOLPH, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of Appellant's motion for voluntary dismissal, it is
    
    
      2
      ORDERED, by the Court, that the motion be granted.   The Clerk is directed to send a certified copy of this order to the District Court in lieu of a formal mandate.
    
    